8:05-cr-00378-BCB-RCC               Doc # 74   Filed: 06/13/06   Page 1 of 3 - Page ID # 213




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )      8:05CR378
       vs.                                           )
                                                     )      PRELIMINARY ORDER
MARCO A. COVARRUBIAS,                                )      OF FORFEITURE
                                                     )
                       Defendant.                    )


       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 65). The Court reviews

the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement, whereby he has agreed to

plead guilty to Counts IV and VI of said Indictment. Count IV of said Indictment charges

the Defendant with distribution and possession with intent to distribute methamphetamine,

a violation of 21 U.S.C. §§ 841(a)(1)&(b)(1). Count VI of said Indictment charges the

Defendant with using $8,300.00 in United States currency to facilitate the commission of

the controlled substance violation and charges said personal property is derived from

proceeds obtained directly or indirectly as a result of the commission of the controlled

substance violation.

       2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject

property, and the United States should be entitled to possession of said property, pursuant

to 21 U.S.C. § 853.
8:05-cr-00378-BCB-RCC          Doc # 74     Filed: 06/13/06     Page 2 of 3 - Page ID # 214




       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 65) is hereby sustained.

       B. Based upon Count VI of the Indictment and the Defendant's plea of guilty, the

United States Bureau of Alcohol, Tobacco and Firearms for the District of Nebraska

("ATF") is hereby authorized to seize the following-described property: $8,300.00 in United
States currency.

       C. The Defendant's interest in said property is hereby forfeited to the United States

of America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

       D. The aforementioned forfeited property is to be held by the ATF in its secure

custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the ATF forthwith shall publish at least once

for three successive weeks in a newspaper of general circulation, in the county where the

subject property is situated, notice of this Order, notice of the ATF's intent to dispose of the

property in such manner as the Attorney General may direct, and notice that any person,

other than the Defendant, having or claiming a legal interest in any of the subject forfeited

property must file a Petition with the court within thirty (30) days of the final publication of

notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

property, shall be signed by the Petitioner under penalty of perjury, and shall set forth the




                                               2
8:05-cr-00378-BCB-RCC          Doc # 74     Filed: 06/13/06    Page 3 of 3 - Page ID # 215




nature and extent of the Petitioner's right, title or interest in the subject property and any

additional facts supporting the Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order

as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       ORDERED this 13th day of June, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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